8:18-cv-00127-LSC-SMB Doc # 181-7 Filed: 02/04/20 Page 1 of 7 - Page ID # 3141




                            EXHIBIT G
8:18-cv-00127-LSC-SMB Doc # 181-7 Filed: 02/04/20 Page 2 of 7 - Page ID # 3142




                              In the Matter of:


                       Rysta Leona Susman, et al.
                                       vs.
               The Goodyear Tire & Rubber Company




     ________________________________________________



                         Craig H. Lichtblau, MD
                              April 8, 2019

     ________________________________________________
8:18-cv-00127-LSC-SMB Doc # 181-7 Filed: 02/04/20 Page 3 of 7 - Page ID # 3143
                               Craig H. Lichtblau, MD - 4/8/2019

                                                      25                                                          27
 1   half out. At the time that I saw him, she told me       1   what happened, but I know what happened. What
 2   he didn't go back to any more hospital admissions.      2   happened was he reached -- he plateaued. He's doing
 3   I don't know what's happened since the time I saw       3   as good as he's going to get, what you've seen. And
 4   him 'til now. And that's clinically significant.        4   the truth of the matter is, in traumatic brain
 5   He's not suffering from status epilepticus,             5   injury, the majority of your functional turn takes
 6   pneumonias, seizures, urinary tract infections,         6   place in the first six months. You can still
 7   autonomic storming. I have no reason to reduce his      7   continue to improve a little bit another 18 months,
 8   life expectancy more than four years.                   8   so you're 24 months out. The truth of the matter
 9       Q. As you sit here today, you don't know what       9   is, there's no finish line to the treatment of
10   care he's received since you last saw the patient;     10   traumatic brain injury. But it's going to be very,
11   is that true?                                          11   very subtle after 24 months.
12       A. Well, I had a pre-depo conference with the      12       Q. Do you agree -- do you have any reason to
13   plaintiff attorney. My understanding is the            13   dispute the fact that he had in fact plateaued?
14   mother's taking care of him, the family.               14       A. Well, you know, I don't have an opinion
15       Q. Okay. Are you aware of any admissions to        15   because that's not what I was asked to do. I wasn't
16   the hospital since you last saw him?                   16   asked to really figure out if he received
17       A. No, I'm not aware of it. I mean, maybe it       17   appropriate care or not, because that would come
18   happened, but I'm not aware of it.                     18   under appropriate care.
19       Q. Are you aware of anything that would make       19          I was asked to -- looking at it, when I
20   his condition unstable between -- anything that        20   went to see him, this is what I think he needs. I
21   happened since you last saw him that would make his    21   didn't retrospectively look at whether he's
22   condition unstable?                                    22   plateaued or not.
23       A. Nobody's made me aware of that.                 23       Q. Did you do any independent evaluation of
24       Q. Would you flip to the third page of             24   whether or not additional PT, OT or speech therapy
25   Exhibit G for me.                                      25   is necessary for this patient?

                                                      26                                                          28
 1       A. Yeah.                                            1       A. Yes.
 2       Q. So the first paragraph in this -- on this        2       Q. We'll get to that later. But what is the
 3   page refers to physical therapy that the patient        3   basis of your opinions -- what is the experiential
 4   received from December of 2016 until June 8th of        4   or educational basis for your opinions on PT, OT and
 5   2017. Do you see that?                                  5   speech therapy?
 6       A. Yes.                                             6       A. The date of the injury was 5/1/15. I saw
 7       Q. It goes on to say, "The patient's mother         7   him on 6/9/17, and I thought one more year would be
 8   was informed they had done everything they could and    8   beneficial, because he's transitioned home and it
 9   her son had plateaued. They did not feel that           9   would -- it's no longer in a coordinated inpatient
10   ongoing therapy would improve his situation."          10   setting under close medical supervision. So to
11          Did I read that correctly?                      11   transition him, I said three times a week for one
12       A. Yes.                                            12   year for each discipline, one, two, three, and
13       Q. Tell me what you're trying to get across        13   that's it; that's all he gets, he's done.
14   in that sentence.                                      14       Q. So you're looking at a different section
15       A. Well, I'm not trying to get across              15   in your report --
16   anything. I'm just documenting this is history the     16       A. Yeah.
17   mother told me. But if you want to know -- forget      17       Q. -- but when you say three times a week for
18   this case a second -- just how it works. If I admit    18   one year and then PRN, that means as needed
19   somebody to a rehab unit and I keep them there and     19   afterwards?
20   we're billing 1,200 to 1,500 dollars a day and         20       A. Yeah, but the PRN doesn't count.
21   they've plateaued and I keep them there, it's          21   Economically it's not included. So it's three times
22   fraudulent billing. It would be called physician       22   a week for one year, PT, OT and speech, really for
23   overutilization.                                       23   transition into the home.
24          Once he reaches MMI, they can't justify         24           Now, they wouldn't be coming into the
25   keeping him there anymore. So she's telling you        25   home. Hopefully, he would be in a situation where

                                                                                      7 (Pages 25 to 28)
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8:18-cv-00127-LSC-SMB Doc # 181-7 Filed: 02/04/20 Page 4 of 7 - Page ID # 3144
                              Craig H. Lichtblau, MD - 4/8/2019

                                                      45                                                          47
 1   that --                                                 1   dementia. So I agree, there are increased risks for
 2       A. Yeah, but --                                     2   all those thing, but I can't say it's more probable
 3       Q. -- is set up?                                    3   than not that he's going to have them.
 4       A. -- you have to realize, the problem with         4       Q. If he does have -- if he does have any of
 5   mortality tables is, it's the general population,       5   these -- would you consider these complications or
 6   all drinkers, all smokers, all risk takers; it's the    6   something separate from that?
 7   whole group.                                            7       A. Yeah, they're a complication of a
 8       Q. Right.                                           8   traumatic brain injury, but if you have Parkinson's,
 9       A. Life expectancy is -- the definition of          9   you control it with medications. And dementia-type
10   life expectancy -- well, let me clarify that.          10   doesn't mean Alzheimer's.
11          The statistical definition of life              11          So I wouldn't say it's going to reduce his
12   expectancy produced by statisticians, such as a        12   life expectancy anymore. I would just say it's
13   Shavelle and Strauss, talk about, it's the average     13   going to make his life miserable.
14   of the survival times of a specific patient            14       Q. So you don't see -- if you assume for the
15   population.                                            15   sake of argument that Mr. Loveland did experience
16          What you can't do is walk in and say,           16   traumatically-induced epilepsy, you see no drop in
17   because of this group, this particular patient is      17   his life expectancy in the event that he does
18   going to die at such and such a year. That gives       18   experience that complication?
19   you the crystal ball and it puts you on the God        19       A. Well, no, it depends. It depends if he's
20   Squad. And it's speculation in a court of law. But     20   getting appropriate aide and attendant care.
21   what you can do is talk about groups of population.    21   Because if that's the case, then he would have to
22          According to peer-reviewed published            22   have RN and LPN level of care and they can put
23   literature, this patient will have a four-year         23   Diastat in his rectum, because they are allowed to
24   reduction in life expectancy due to the fact that      24   pass meds, and they would have early detection and
25   he's got a severe traumatic brain injury, and I'm      25   early intervention. However, if he doesn't have

                                                      46                                                          48
 1   okay with that. I think that that's legitimate.         1   early detection and early intervention, well then,
 2       Q. Do you think that his risk of dying in any       2   yeah, you can reduce his life expectancy, because
 3   given year would be increased, as opposed to the        3   you can die from seizures.
 4   general population?                                     4       Q. What about Parkinsonism?
 5       A. No. I think that I would go by the               5       A. Well, that's not Parkinson's disease.
 6   literature, and specifically, the National Research     6   Parkinsonism means that, you know, he has the
 7   Counsel Summary Golf War and Health, Volume 7,          7   shaking and the bradycardia slowness of gait and
 8   Long-Term Consequences of Traumatic Brain Injury,       8   slowness of movement, masked face, yes.
 9   Washington D.C. This is the National Academy of         9       Q. If he ultimately suffers from that, would
10   Press 2008. They said, based on their research --      10   that impact his life expectancy?
11   and this is government funded. This is as good as      11       A. Probably not, not any more than the four
12   it gets. They did this with our servicemen,            12   years.
13   veterans. They said, four years. I have no reason      13       Q. What about Alzheimer's-like dementia?
14   to disbelieve that, so that's what I'm going to go     14       A. Again, that would just make taking care of
15   with. It's peer-reviewed, published, accepted.         15   him more complicated.
16   That's the best I can do.                              16       Q. But in your judgment, it wouldn't impact
17       Q. The next paragraph in your -- on page 7 of      17   his life expectancy.
18   Exhibit G, which is your summary report, goes on to    18       A. Well, it's going to impact his life
19   identify some increased risks that Mr. Loveland is     19   expectancy due to the fact that he's going to reduce
20   exposed to because of his TBI. Do you see that?        20   it by four years.
21       A. Yes.                                            21       Q. You also go on to state that the brain
22       Q. Can you identify for me what these              22   injury that he suffered increases his potential to
23   increased -- what he's at an increased risk for?       23   develop hydrocephalus in the future?
24       A. Yeah. Increased risk for traumatic brain        24       A. Correct, but I can't swear to more
25   induced epilepsy, Parkinsonism, Alzheimer's-like       25   probable than not. It's a possibility. And he has

                                                                                     12 (Pages 45 to 48)
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8:18-cv-00127-LSC-SMB Doc # 181-7 Filed: 02/04/20 Page 5 of 7 - Page ID # 3145
                               Craig H. Lichtblau, MD - 4/8/2019

                                                      49                                                          51
 1   a shunt placed anyway, so probably not. That's in       1   costs for these items are based on -- then you list
 2   the literature. I don't pick and choose out of          2   five or six things.
 3   literature because that's not right. I go ahead and     3          So are these five and six things what you
 4   print the whole thing, and that's in the literature.    4   rely on in formulating your continuation of care?
 5   But he has a VP shunt, so he's probably not going to    5      A. Yes, plus knowledge, training, clinical
 6   have that, because that's what the VP shunt is          6   practice experience, which exceeds over 130,000
 7   treating right now.                                     7   hours, and the peer-reviewed published literature
 8       Q. The last, I guess, additional risk that          8   backing up all my opinions.
 9   you identify in this paragraph is, he's at a            9          And you'll notice I did speak to the
10   lifetime risk for multiple organ system failure.       10   patient's treating neurologist and the patient's
11       A. Yes.                                            11   treating primary care physician. We had a
12       Q. Can you describe that?                          12   conversation. And the neurologist actually faxed it
13       A. It was in the article.                          13   back and signed it, signed it 6/30/17. The primary
14       Q. Okay.                                           14   care physician never signed -- he didn't sign it and
15       A. You know, if he's on medications, then          15   send it back, so I assume that he was fine with what
16   you're at risk for complications with your liver or    16   exactly was said.
17   complications with your kidney, because everything's   17          But, basically, these are my opinions. It
18   filtered -- all the blood is filtered by the liver     18   just so happens that the primary care physician and
19   and the kidneys.                                       19   neurologist agrees with my same opinions, because
20       Q. Is it fair to say, that if he does suffer       20   this patient is catastrophically injured.
21   from multiple organ system failure, that that would    21          And this comports with the protocol that's
22   in fact impact his life expectancy?                    22   been peer-reviewed, published and accepted worldwide
23       A. Yes, but that's a possibility, not a            23   that was authored by me. And that's why we do it
24   probability.                                           24   that way, to have accuracy at a premium. There's no
25       Q. What about -- well, I'll go one at a time.      25   fluff and puff in the report. I don't have therapy

                                                      50                                                          52
 1         Does traumatically induced epilepsy               1   visits to Disney World, I don't have hyperbaric
 2   increase his risk for being hospitalized?               2   oxygen, I don't have hippo therapy. I don't have
 3       A. It could increase risk, but it doesn't           3   any fluff and puff.
 4   meet legal threshold of more probable than not.         4           What's in this report is written in such a
 5      Q. Okay. Would your answer be the same for           5   way, which I think is a medical necessity to keep
 6   Parkinsonism?                                           6   this patient as safe as possible. And to make sure
 7       A. Yes.                                             7   there's nothing far reaching in the report and to
 8      Q. Would your answer be the same for                 8   make sure that there's no hocus pocus in the report,
 9   Alzheimer's-like dementia?                              9   you'll notice, when I write a PRN, it does not meet
10       A. Yes. It's an increased risk probably 10         10   legal threshold. So this cost is not included in
11   to 20 percent, but I can't say it's greater than       11   the economic analysis. So if you go to page number
12   50 percent. That doesn't meet legal threshold.         12   2, basically everything is out where it says PRN.
13      Q. Okay. Same for hydrocephalus?                    13   And page number 3, that whole section, diagnostics
14       A. Well, I doubt that's going to happen            14   is out, when it says one time a year/PRN, or PRN.
15   because he already has a shunt.                        15           And when you go to page number 4, I
16      Q. And the same, the multiple organ system          16   dropped out 1 million to $4 million -- or, I
17   failure?                                               17   shouldn't say, I drop out. I don't include
18       A. Right. Very low probability.                    18   1 million to $4 million worth of care, 'cause I do
19      Q. Before we move on, let's look at the last        19   make the speculative assumption in this court of law
20   page, page 8 of your summary report, which is          20   that we live in the perfect world and he'll never
21   Exhibit G.                                             21   have a complication. So I don't include 1 million
22         So you state that this patient's future          22   to $4 million worth of care. But let's say he does
23   medical care, support services and durable medical     23   have a complication, such as seizures, has to be
24   equipment are defined in the continuation of care      24   admitted, there's no money associated with the
25   section of this report. This medical necessity and     25   admissions to the hospital.

                                                                                     13 (Pages 49 to 52)
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8:18-cv-00127-LSC-SMB Doc # 181-7 Filed: 02/04/20 Page 6 of 7 - Page ID # 3146
                              Craig H. Lichtblau, MD - 4/8/2019

                                                      57                                                          59
 1   well, not die.                                          1   think he needs because he's had a catastrophic brain
 2     BY MR. HEDGER:                                        2   injury. Whether he's getting it, that's a
 3      Q. So there's not a risk of, you know,               3   completely different set of circumstances. And I
 4   obtaining a staph infection from being admitted into    4   haven't seen him in a year and a half, so I have no
 5   the hospital or other hospital?                         5   knowledge.
 6       A. There's always a risk, but it doesn't meet       6      Q. But at the time that you saw him, was it
 7   legal threshold of greater than 50 percent              7   your medical opinion that he needed to see a
 8   probability.                                            8   neurologist?
 9      Q. Okay.                                             9      A. Yes, he should be followed by a
10       A. And remember, in my thing, it's always          10   neurologist. He's had a severe brain injury, he's
11   risk versus reward.                                    11   on -- let me see if he's on antiseizure medications.
12          And in the courtroom arena, in order for        12   I don't know what he's on.
13   me to say it under oath, it's got to be greater than   13          He's on Prozac, Amantadine, a blood
14   50 percent probability.                                14   thinner, Risperidone, Depakote, Tramadol, trazodone.
15      Q. While we have your old methodology in            15   I mean, he should see a neurologist.
16   front of us, let me just ask you a few questions so    16          Depakote is an antiseizure medication.
17   we don't waste any time here.                          17   He's getting 125 milligrams, four in the morning,
18          So the third paragraph down, it says, "In       18   four midday and two at night. That can affect your
19   my medical opinion, that these costs do not take       19   liver, your kidneys. It can also affect your blood
20   into account the costs which are associated with       20   marrow. And your blood marrow is where your red
21   various complications."                                21   cells, your white cells and your platelets are built
22       A. Right. And that's in the section that I         22   and sent out into the bloodstream. He should be
23   had that I said, I'm not including 1 million and       23   monitored by a neurologist and a primary care
24   $4 million worth of care because I'm going to make     24   physician at a minimum.
25   this speculative assumption in a court of law that     25      Q. You have an asterisk by neurologist.

                                                      58                                                          60
 1   we live in a perfect world and -- you know, and he's    1       A. Yeah.
 2   not going to have any problem.                          2       Q. That refers to, I guess, something that
 3       Q. But these are all complications that he is       3   Dr. Morgan Laholt, who's -- was that his treating
 4   at risk for?                                            4   neurologist?
 5       A. Yeah. But, I mean, he's at risk, but it's        5       A. Yes. In other words, I called him to
 6   not -- doesn't meet anywhere near legal threshold.      6   confirm the prices and confirm how often he wanted
 7          (Interruption in the proceedings.)               7   to see him.
 8     BY MR. HEDGER:                                        8          These are my opinions. It just so
 9       Q. All right. Back to what we've marked as          9   happens, whenever I can get ahold of a treater to
10   Exhibit H. I assume the continuation of care           10   confirm or deny, I will go ahead and do that to
11   portion is not going to change?                        11   accuratize this. That's part of my protocol, which
12       A. No, it's not. And you'll notice the             12   is different than a physician life care planner of
13   cardiology, orthopedic surgeon, gastroenterologist.    13   that crew out in Texas.
14   There's no costs included in an economic analysis      14       Q. Lots of anti-Texas talk today.
15   because it's a PRN. The neurologist is two to four     15       A. No, it's not. It's -- I believe it should
16   times a year and PRN. The and PRN is not included.     16   be done with a medical model, not a business model.
17   It's only two to four times a year. But I'm not a      17       Q. I'm just joking.
18   life care planner, I'm a medical doctor, and that's    18       A. Yeah. I like Texas.
19   why I write it this way. This is complete, but yet     19          THE WITNESS: Off the record.
20   follows the rules of the court by speculation.         20          (Discussion off the record.)
21       Q. Do you know the last time -- let's start        21          MR. HEDGER: Back on the record.
22   with neurologist. Do you know the last time he saw     22     BY MR. HEDGER:
23   a neurologist?                                         23       Q. All right. So we started out with the
24       A. I have no idea, but that's irrelevant.          24   neurologist. We're on page 1, continuation of care,
25           What's relevant to me is this is what I        25   which is I think --

                                                                                     15 (Pages 57 to 60)
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8:18-cv-00127-LSC-SMB Doc # 181-7 Filed: 02/04/20 Page 7 of 7 - Page ID # 3147
                               Craig H. Lichtblau, MD - 4/8/2019

                                                      61                                                         63
 1          (Interruption in the proceedings.)               1   say, he gets sent to the emergency room because of
 2          (Marked for identification is Defense            2   X, Y and Z, that's why it would be -- that's why
 3      Exhibit I.)                                          3   it's a range.
 4     BY MR. HEDGER:                                        4        Q. Do you have a sense of -- can you weight
 5      Q. Doctor, I've just been handed I guess a           5   this one hundred to four hundred dollar per office
 6   folder that your office just brought in. Can you        6   visit in any way, given the likelihood that he has
 7   identify that for the record?                           7   one of those complications?
 8      A. Yes. That is the updated methodology page         8        A. No, because it's speculative. All I can
 9   and updated literature that I was talking about to      9   say is, Look, it's two to four times a year, it's
10   back up my opinions about hip fractures.               10   one hundred to four hundred. That's why I always
11      Q. Okay. Let's return to Exhibit H, which is        11   tell the economists, Do a range high to low.
12   the continuation of care.                              12        Q. Speaking of that, did you talk to the
13          So, Dr. Laholt, you reference -- you have       13   economist on this case?
14   an asterisk by neurologist you reference, that's per   14        A. I don't know who it was.
15   your conversation with Dr. Laholt?                     15        Q. Pettingill.
16      A. Yeah, that price comes directly from a           16        A. Probably, but I don't document it. I take
17   treater.                                               17   so many calls a day. But he knows -- I've worked
18      Q. Okay. So you're talking about the price?         18   with him in the past and he knows how to do my
19      A. Yes.                                             19   reports. He knows when it's a PRN and it's not
20      Q. Because Dr. Laholt recommended two to            20   included.
21   three times a year and you recommend two to four       21        Q. So you have no specific recollection of
22   times a year?                                          22   talking to Pettingill about this particular report?
23      A. Correct.                                         23        A. No, I don't remember. But if he says
24      Q. So you disagree with him about -- a little       24   under oath that we did, we probably did.
25   bit about the number of times per year?                25        Q. Now let's go to the diagnostic tests.

                                                      62                                                         64
 1       A. No, because it's a range of two to four.         1   Let's just talk about the first one.
 2       Q. Okay. Which would include three?                 2           X-ray thoracolumbar?
 3       A. Yeah, which would include three.                 3        A. Doesn't count. One time a year/PRN. All
 4       Q. Let's flip to the section, Diagnostic            4   of that, that whole section there, is not included.
 5   Tests.                                                  5       Q. Not even the one time a year; I thought
 6       A. Yeah, that would be page No. 2. And it's         6   that was normally included?
 7   a moot point, because, look, it's, PRN, PRN, PRN,       7        A. That one time a year/PRN, doesn't meet
 8   which means it's not included.                          8   legal threshold. So none of that's included in that
 9       Q. Okay. So let's jump up to medical care,          9   economic analysis.
10   continued on that page, page 2?                        10       Q. So anytime you have a one time a year or
11       A. Yeah, this ENT and the neurosurgeon is not      11   two time a year slash PRN then it's not included?
12   included.                                              12        A. Correct.
13       Q. So the primary care and the urologist is        13       Q. What's the purpose of putting that into
14   all we care about then?                                14   the report then if it's not included?
15       A. Correct.                                        15        A. Because I'm a medical doctor. I'm not a
16       Q. So the primary care, you list the range of      16   life care planner. I'm not a physician life care
17   100 to four hundred dollars, and that's per Chadd      17   planner.
18   Murray.                                                18           This is done as accurate as I can and I
19       A. Correct.                                        19   follow the rules of the court; no speculation. But
20       Q. Is that the plaintiff's primary care            20   it's there because realize that it's possible he
21   physician?                                             21   would need it, but I'm not saying it's probable.
22       A. Yeah. Well, it was at that time.                22       Q. And that's the same for any one of these
23       Q. Okay. Does four hundred bucks for an            23   where there's a slash PRN?
24   office visit seem high to you?                         24        A. I agree. So really, like, page No. 4, all
25       A. It is, but if he's complicated -- let's         25   of that is out; there's nothing included there.

                                                                                    16 (Pages 61 to 64)
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